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IN THE UNITED STATES DISTRICT COURT m BY_'C@LM
FOR THE WESV\FJFEESRTNER]§\¥ISDTII:/IFSTIO(§F TENNESSEE ns JUL n PH w l's
M. T. W. DEVELOPERS, CLEH;US I:SIWTM
Plaintiff,
vS_ NO. 05-2285-MaP

174 FAIRFAX WAY ASSOCIATES, LTD. ,
ALCO PROPERTIES MID-SOU‘I'H, INC'. ,
IMPERIAL ASSOCIATES, INC.,

FR.ANKLIN 84 ASSOCIATES, and
LEXINGTON RESIDENTIAL ASSOCIATES, LP,

Defendants.

 

ORDER OF DI SMI SSAL

 

The parties have filed a stipulation of voluntary dismissal
in this matter pursuant to Federal Rule of Civil Procedure
4l(a)(l). For good cause shown, the motion is granted and this
matter is DISMISSED without prejudice, each party to bear its own
costs.

It is so ORDERED this HJL day of July, 2005.

_J//(/ML___.

SAMUEL H. MAYS, JR.
UNI'I‘ED S'I‘ATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02285 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

